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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF VERMONT

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )              Docket No. 2:22-MJ-49
                                             )
WILLIAM HILLARD                              )
     Defendant.                              )

                                 MOTION FOR DETENTION

       The United States of America, by and through its attorney, Nikolas P. Kerest, United

States Attorney for the District of Vermont, moves for the pretrial detention of the above-named

defendant pursuant to 18 U.S.C. § 3142(e) and (f).

       1. Eligibility for Detention. The defendant is eligible for detention because the case

involves the possession of a firearm and destructive devices. See 18 U.S.C. § 3142(f)(1)(E).

       2. Reason For Detention. The Court should detain the defendant because there are no

conditions of release which will reasonably assure the safety of the community. The defendant’s

offense involves the unlawful possession of a firearm – specifically, an AR-15-style rifle – and

multiple destructive devices, including PVC “pipe bombs” containing apparent metal shrapnel.

Following his arrest, the defendant admitted that he had detonated approximately 50 explosive

devices in recent years. He also admitted that he knew his possession of a firearm was unlawful

as a result of his felony convictions. Moreover, witnesses report that that defendant has recently

exhibited or engaged in threatening behaviors. He has previously been convicted of two felony

offenses, including possession of a bomb or explosives. Additionally, a witness reports that the

defendant is a user of both heroin and methamphetamine.

       3. Rebuttable Presumption. The United States will not invoke the rebuttable

presumption against defendant under § 3142(e).
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       4. Time For Detention Hearing. The United States requests that the Court conduct the

detention hearing upon completion of a bail report by the Pretrial Services Office.



       Dated at Burlington, in the District of Vermont, April 14, 2022.


                                                            Respectfully submitted,

                                                            NIKOLAS P. KEREST
                                                            United States Attorney


                                                     By:    /s/ Nathanael T. Burris
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